         Case 3:16-cv-01917-ADC Document 17 Filed 11/01/16 Page 1 of 1




                    UNITED STATES DISTRICT COURT
                                DISTRICT OF PUERTO RICO
                         FEDERICO DEGETAU FEDERAL BLDG. - RM. 150
                                  CARLOS CHARDON AVE.
                             HATO REY, PUERTO RICO 00918-1767

FRANCES RIOS DE MORAN                                               TEL. (787) 772-3011
      CLERK                                                         FAX (787) 772-3210




                                                November 1, 2016



Clerk of Court
Centro Judicial de Mayaguez
Court of First Instance
Mayaguez Part
P O Box 1210
Mayaguez, Puerto Rico 00681-1210

                        Re: Your Civil Case ISC1201500515
                            DLJ Mortgage Capital, Inc. vs.
                            Juan Galindo Martinez, et als
                            Our Civil Case No. 16-1917(ADC)

Dear Sirs:

     In accordance with Judgment entered by the Chief, U.S.
District Judge Aida M. Delgado-Colon in the above entitled case, we
include the following documents:

1.    Certified copy of Order and Judgment remanding this case to
      the Court of First Instance.

2.    Certified copy of docket sheet.

                                                Very truly yours,

                                                FRANCES RIOS DE MORAN
                                                Clerk of Court



                                         By:    S/Olga Vega
                                                Data Quality Analyst

Encls.
